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     Federal Defender
 2
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 3   Assistant Federal Defender
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 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
 6   Attorney for Defendant
     AUDREY RENEE BELL
 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         ) No. 2:07-cr-047 LKK
                                       )
12                    Plaintiff,       ) STIPULATION AND ORDER CONTINUING
                                       ) CASE AND EXCLUDING TIME
13        v.                           )
                                       )
14   AUDREY RENEE BELL, et.al.         ) Date:     May 8, 2007
                                       ) Time:     9:30 a.m.
15                  Defendant.         ) Judge:    Hon. Lawrence K. Karlton
     __________________________        )
16
17
          IT IS HEREBY STIPULATED by and between Assistant United States
18
     Attorney Matthew Stegman, Counsel for Plaintiff, and Assistant Federal
19
     Defender Jeffrey L. Staniels, Counsel for Defendant Audrey Bell, Joseph
20
     Ribakoff, Counsel for Sharon Hubbs, and Donald Dorfman, counsel for
21
     Terri Ross, that the status conference scheduled for May 8, 2007, be
22
     vacated and the matter recalendared for status conference on June 19,
23
     2007.
24
          This continuance is sought to permit further evaluation of
25
     discovery, and consideration of investigation, motions, and other
26
     aspects of defense preparation.        Counsel for the parties have conferred
27
     about this continuance and all counsel have authorized Mr. Staniels to
28
              Case 2:07-cr-00047-TLN Document 33 Filed 05/07/07 Page 2 of 2


 1   sign this stipulation on their behalf.
 2         IT IS FURTHER STIPULATED that for trial under the Speedy Trial Act
 3   continue to be excluded between May 8, 2007, 2007, and June 19, 2007,
 4   pursuant to 18 U.S.C. § 3161(h)(8)(A) & (B)(ii) & (iv), Local Code T-2
 5   & T-4.
 6               IT IS SO STIPULATED.
 7
 8   Dated:    May 4, 2007                      /S/ Matthew Stegman
                                               Matthew Stegman
 9                                             Assistant United States Attorney
                                               Counsel for Plaintiff
10
11   Dated:    May 4, 2007                      /S/ Jeffrey L. Staniels
                                               JEFFREY L. STANIELS
12                                             Assistant Federal Defender
                                               Counsel for Defendant
13                                             AUDREY RENEE BELL
14
15   Dated:    May 4, 2007                      /S/ Joseph Ribakoff
                                               JOSEPH MEIR RIBAKOFF
16                                             Counsel for Sharon Hubbs
17
18   Dated:    May 4, 2007                      /S/ Donald Dorfman
                                               Donald P. Dorfman
19                                             Counsel for Terri Louise Ross
20
                                          O R D E R
21
22         IT IS SO ORDERED.
23                                 By the Court,
24
25   Dated: May 4, 2007
26
27
28

     Stipulation and Order Continuing
     Case and Excluding Time                   2
